                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION

UNITED STATES OF AMERICA                            )      DOCKET NO. 5:19-cr-15-KDB
                                                    )
              v.                                    )
                                                    )      Motion to Dismiss Bill of
OSCAR RANGEL-GUTIERREZ, et al                       )      Indictment Without Prejudice
                                                    )

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of this

Court as endorsed on the proposed Order for Dismissal, the United States of America, by and

through R. Andrew Murray, United States Attorney for the Western District of North Carolina,

hereby moves to dismiss the Bill of Indictment in Docket No. 5:19-cr-15 without prejudice as to

defendants Oscar Rangel-Gutierrez; Regulo Rangel-Gutierrez; and Rigoberto Rangel-Gutierrez.

On March 18, 2019, Defendant Regulo Rangel-Gutierrez pleaded guilty to a Bill of Information

filed in Docket No. 5:19-cr-21; on April 8, 2019, Defendant Oscar Rangel-Gutierrez pleaded

guilty to a Bill of Information filed in Docket No. 5:19-cr-27; on May 23, 2019, Defendant

Rigoberto Rangel-Gutierrez pleaded guilty to a Bill of Information filed in Docket No. 5:19-cr-

39. Therefore, the United States seeks dismissal without prejudice of the charged offenses in

the Bill of Indictment in Docket No. 5:19-cr-15 as to defendants Oscar Rangel-Gutierrez; Regulo

Rangel-Gutierrez; and Rigoberto Rangel-Gutierrez.

       RESPECTFULLY SUBMITTED this the 25th day of June, 2019.

                                            R. ANDREW MURRAY
                                            UNITED STATES ATTORNEY

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